               Case 4:07-cr-40029-JPG                    Document 149 Filed 11/29/07                       Page 1 of 6          Page ID
% A 0 2458    (Rev. 06/05) Judgment in a Criminal Case
                                                                   #348
              Sheet 1




                        SOUTHERN                                   District of                                    ILLINOIS

          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                               v.
                 SHAUN P. RIECHMAN                                          Case Number:           4:07CR40029-02

                                                                            USM Number:            07342-025

                                                                             Phillip A. Kramer
                                                                            Defendant's Attorney
THE DEFENDANT:
Gpleaded guilty to count(s)            of the Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Ynture of Offense                                                          Olfensr Ended               Counl
 21 U.S.C. 846                       Conspiracy to Distribute &Possess with Intent to Distribute                1/31/2007                    1
                                     1,000 Kilograms or More of Marihuana



       The defendant is sentenced as provided in pages 2 through                10           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
@~ount(s)         2, 3 and 4                                 is     g a r e dismissed on the motion of the United States.

         I t 1s ordered (hat tl~cdcic,nd$nt must not~iythe ilt~itedStatcs anonle) for thlb dl.itnct \\ thin 30 ?a , < o fany ~ h a n g coinamc, rc~~dcncc.
            address untll all rincs. rcst~tutlon,costs, and specral ascssnients 1mpo3r.dby th~sjodgnienrarc     ruby palJ I t orJr.reci ro p l y rcst~rut~on.
$:l"d"%?klant must notlfy the coun and Unltcd States attorney of ni3terlal changes 111 econunnu clrcunatanie,.                                     , '




                                                                             J. Phil Gilbert                               District Judge
                                                                            Name o f Judge                                Title ofludge




                                                                            Date
                 Case 4:07-cr-40029-JPG                Document 149 Filed 11/29/07                     Page 2 of 6         Page ID
A 0 2458      (Rev. 06105) Judgment in Criminal Case
                                                                 #349
              Sheet 2 - Imprisonment
                                                                                                        Judgment - Page   -
                                                                                                                          2 of       10
DEFENDANT: SHAUN P. RIECHMAN
CASE NUMBER: 4:07CR40029-02


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  90 Months on Count 1 of the Indictment



      C;d The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



  $i       The defendant is remanded to the custody of the United States Marshal

           The defendant shall surrender to the United States Marshal for this disbict:
                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
                    Case 4:07-cr-40029-JPG                  Document 149 Filed 11/29/07                    Page 3 of 6          Page ID
                                                                      #350
A 0 2458         (Rev. 06/05) Judgment in a Criminal Case
                 Sheet 3 -Supervised Release
                                                                                                              Judgment-Page       2     of       in
DEFENDANT: SHAUN P. RIECHMAN
CASE NUMBER: 4:07CR40029-02
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tern of :

  5 years on Count 1 of the Indictment



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defeqdant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detenmned by the court.
        The above drug testing condition is suspended, based on the court's determination that thc defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation oficer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicahle.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer tn~thfullyall inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      t h e Jckndant shall refrain frum excesstve use ofalcohol and shall not purchase. possr.ss, u s . Jt,trthutc, or adminislcr any
           controlled suhstancr. or 311)' p3raphernal1arelated to any contr~>llc(l
                                                                                iuh~mnces,cuccpt 3s prescr~hedby .I phystctan;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the protation officer;
           the defendant shall pe.rmit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      .ISd~rectcdby tltc y b d l ~ u noi1i;cr: thr. GcfcnJ~nlshall noui) th~rdpanl:s of risk, that ma). he occa,~t,n+ by tlic dcfen.lant's crtni~n.?I
           rciord or periona htstor) or ~ h ~ r ~ c t s r t s rand
                                                               t c s shall pcnnit the probattun officer to makc such not~ficat~ons  and to iontirni thc
           dcl'cndanl s 2otttpltancc \vitll su:lt n~~ttticatton rcqulrctncnt
A 0 245B
            Case 4:07-cr-40029-JPG
           (Rev. 06105) Judgment in a Criminal Case
                                                      Document 149 Filed 11/29/07        Page 4 of 6       Page ID
           Sheet 3C - Supervised Release                        #351

DEFENDANT: SHAUN P. RIECHMAN
                                                                                           Judgment-Page
                                                                                                           -
                                                                                                           4      of      10

CASE NUMBER: 4:07CR40029-02

                                         SPECIAL CONDITIONS OF SUPERVISION
 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account, however, if the account balance is less than $20.00, o payment shall be
 required. The Court finds that the defendant does not have the ability to pay interest and it is waived. The costs of
 imprisonment and supervision are also waived.

 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
 treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence andlor participation in a residential treatment facility. Any
 participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and1 or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
A 0 2458      Case
           (Rev. 06105) 4:07-cr-40029-JPG
                        Judgment in a Criminal Case   Document 149 Filed 11/29/07                          Page 5 of 6       Page ID
           Sheet 5 -Criminal Monetary Penalties                 #352

DEFENDANT: SHAUN P. RIECHMAN
                                                                                                       Judgmen1-Pap.e
                                                                                                                        -
                                                                                                                        " of G             ,"
                                                                                                                                          4n



CASE NUMBER: 4:07CR40029-02
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                    Assessment                                           -
                                                                         Fine                                  Restitution
 TOTALS           $ 100.00                                            $ 100.00                               $ 0.00



     The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case (A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant nukes A partial pdymmt. each pa ee s h ~ lre;cl\c
                                                                l       an approxitnately pro o n l o n e d ~ ~ nunless
                                                                                                                     t , spe~ifieduthr.n\.isein
     the priorlty orJr.r or percentage payn~entcoluninkelo\!. ~o\vc\:r.r,
     before the I'nltcd States IS paid.
                                                                          pursuant to I8 1       .~.f'.
                                                                                                \' 3664 I), all nonrcdcral victim m u ~ hc
                                                                                                                                        t paid


 Yamc of Paree                                                                                  Restitution Ordered     Priority or Pcreentagg




TOTALS                                                        0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the           @ fine           restitution.
           the interest requirement for the           fine           restitution is modified as follows:


*Findings for the total amount of losses are re uiredunder Chapters 109A, 110, 1IOA, and 113A of Title 18 foxoffenses committed on or after
September 13, 1994, but before Aprll 23, 199%.
A 0 24SR
              Case 4:07-cr-40029-JPG
           (Rev. 06105) Judement in a Criminal Case    Document 149 Filed 11/29/07                   Page 6 of 6          Page ID
                                                                 #353
                                                                                                       Judgment-   Page     6      of        10
DEFENDANT: SHAUN P. RIECHMAN
CASE m B E R : 4:07CR40029-02

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A         Lump sum payment of $                             due immediately, balance due

                 not later than                                 , or
                 in accordance           [7 C,         D,         E, or   B ( F below; or

B          Payment to begin immediately (may be combined with             C,          D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     [7 Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                      (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a       ent of criminal monetary penalties is due durin
imprisonment. All crminarmoneta penalties, except those payments made througg                   ~ e d e r a Bureau
                                                                                                            l      of Prisons' Inmate ~ i n a n c i 3
Responsibility Program, are made to fhe clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 [7   The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, lncludlng cost of prosecut~onand court costs.
